              Case 4:20-cv-01644-MWB Document 3 Filed 09/17/20 Page 1 of 1

                                  UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF PENNSYLVANIA
                                       240 West Third Street, Suite 401
                                      Williamsport, Pennsylvania 17701

                                       judge_brann@pamd.uscourts.gov



Matthew W. Brann                                                                           (570) 323-9772
      Judge                                                                                (570) 322-8669 (fax)

                                             September 17, 2020


    TO: COUNSEL OF RECORD


            RE:     Delaney v. Advantage Sales Ltd. et al
                    Case No. 4:20-CV-01644

Dear Counsel:

       The above action has been assigned to me. A Case Management Conference will be scheduled after
joinder of this matter has occurred. The purpose of the conference is to establish a schedule for the
management of the case so as to strive for its just, speedy and inexpensive determination. The Order
scheduling the conference will inform you in more detail of what is required of you in preparation for the
conference. In the meantime, the parties are expected to comply with the mandatory disclosure
requirements of Fed.R.Civ.P. 26(a), and must actively comply with discovery obligations pending
scheduling of the Case Management Conference.

         If service of the initial pleading is not made within the time allotted by the Rules of Civil Procedure,
a status report addressing the reasons for the delay and the course of action being pursued shall be submitted
to me.

       If an answer or other response has not been filed, it is important that this be accomplished in the time
provided for in the Federal Rules of Civil Procedure. To this end, counsel and parties acting without
counsel, are notified not to enter into agreements for extensions of time without seeking Court approval.
Such agreements, unless approved, are not permitted by the Rules of Civil Procedure and cannot be honored.

       Any inquiries you have concerning this case should be directed to my Courtroom Deputy, United
States Courthouse and Federal Building, 240 West Third Street, Suite 401, Williamsport, Pennsylvania,
17701, phone number (570) 323-9772.

                                                        Very truly yours,


                                                        s/ Matthew W. Brann
                                                        Matthew W. Brann
                                                        United States District Judge
